      Case 2:19-cv-13949-MLCF-JVM Document 43 Filed 11/12/20 Page 1 of 3




                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

QUANEECHA JOHNSON, ET AL. *                           CIVIL ACTION
                          *
               Plaintiffs *                           NO. 19-13949
                          *
VERSUS                    *
                          *                           SECTION F (2)
                          *
MARLIN N. GUSMAN,         *
ET, AL.                   *
               Defendants *
*************************

                     CROSSCLAIM AGAINST MARLIN N. GUSMAN

       NOW INTO COURT, through undersigned counsel, comes Wellpath, LLC (“Wellpath”),

formerly Correct Care Solutions, LLC, files this crossclaim, and avers as follows:

                                                 1.

       The Plaintiffs have filed a Complaint in this matter seeking damages for injuries sustained

as a result of the decedent, Edward Patterson, allegedly ingesting illegal drugs while housed in the

Orleans Justice Center (“OJC”). (See R. Doc. 1, ¶ 1).

                                                 2.

       Wellpath has been named as a defendant by the Plaintiffs in this case.

                                                 3.

       Wellpath denies any and all liability in this case.

                                                 4.

       Alternatively, while denying any and all liability, Wellpath hereby asserts a crossclaim for

indemnity against crossclaim defendant, Marlin N. Gusman, in his individual capacity and in his

official capacity as Sheriff of the Parish of Orleans (“Sheriff Gusman” or “OPSO”), in the event
      Case 2:19-cv-13949-MLCF-JVM Document 43 Filed 11/12/20 Page 2 of 3




the allegations contained in the Plaintiff’s Complaint against Sheriff Gusman are proven at the

time of trial.

                                                  5.

        Wellpath adopts and incorporates by reference pursuant to Fed. R. Civ. P. Rule 10(c) all

allegations against crossclaim defendant Sheriff Gusman as asserted in the Plaintiff’s Original

Complaint (R. Doc. 1), and the Plaintiff’s proposed First Supplemental and Amending Complaint

(R. Doc. 30-2), insofar as they assert the fault, negligence, and other basis of liability against

crossclaim defendant Sheriff Gusman.

                                                  6.

        In their Complaint and proposed First Supplemental and Amending Complaint, the

Plaintiffs allege that the injuries sustained by the decedent were caused by, inter alia, the actions

and/or inactions of Sheriff Gusman and OPSO deputies. (See e.g., R. Docs. 1, 30-2 at ¶¶ 15-18,

20, 23, 26, 30-33, 38-39, 49-53, 56-57, 59-61).

                                                  7.

        Should the Plaintiffs prove their allegations against Sheriff Gusman throughout the course

of discovery or ultimately at trial, Wellpath is entitled to indemnity from Sheriff Gusman for his

alleged actions and/or inactions that allegedly caused injury to the decedent.

        WHEREFORE, defendant and crossclaimant, Wellpath, LLC, prays that this crossclaim be

duly cited and served, and that after due proceedings are had that there be judgment herein in favor

of the Defendants and against the Plaintiffs, dismissing Plaintiffs’ claims, with prejudice and at

their costs, and in the alternative, Wellpath prays that should it be found at fault and liable to the

Plaintiffs, which is denied, there be further judgment over and against cross-claim defendant

Marlin N. Gusman, as an individual and as Sheriff of the Parish of Orleans, for indemnity for all




                                                  2
      Case 2:19-cv-13949-MLCF-JVM Document 43 Filed 11/12/20 Page 3 of 3




costs of these proceedings, and for all other equitable and legal relief as the nature of the case may

permit and as the law may allow.

                                               Respectfully Submitted,

                                               FRILOT L.L.C.

                                               /s/ D. Burke Stough
                                               CARL E. HELLMERS, III (#25705)
                                               D. BURKE STOUGH (#36688)
                                               1100 Poydras Street, Suite 3700
                                               New Orleans, Louisiana 70163
                                               Phone: (504) 599-8035
                                               Facsimile: (504) 599-8156
                                               Counsel for Defendant, Wellpath, LLC


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of October, 2020, I have filed a copy of the

foregoing pleading with the CM/ECF system, which will send notice of electronic filing to all

counsel of record.

                                               /s/ D. Burke Stough




                                                  3
